         Case 3:11-cr-03486-JAH                       Document 1385                   Filed 09/02/16               PageID.8399             Page 1 of
                                                                                5

    ""'AO 245B (CASD) (Rev 4!l4)   Judgment in a Criminal Case
               Sheet 1



                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November I, 1987)

                               Flora Espino -6                                       Case Number: II-cr-03486-JAH-6
                                                                                     Kenneth J Troiano
                                                                                     Defendant's Attorney
    REGISTRAnON NO. 06406051

    o
    o
    THE DEFENDANT:
        pleaded guilty to eount(s) _____________________________________________

    181 was found guilty on eount(s)_F_i__ft__ee;;..n___..of;;..t;;..he____I:..nd_ic_tm_e_nt_._
                                                                                __              _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea arnot gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number(s)
18:1623                                False Declarations Before a Grand Jury                                                               15




        The defendant is senteneed as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
     The defendant has been found not gUilty on count(s)

 O Count(s)________________________ is 0
                                                            ------------------------------
                                                                        0                        are        dismissed on the motion ofthc United States.

 [8] Assessment: S I00.00.


 [8] See fine page                                  o    Forfeiture pursuant to order filed
                                                                                                   -----------                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence.
 or mailing address until all fines, restitution, costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and united States Attorney of any material change in the defendant's economic circumstances.




                                                                               tlNITED STATES DISTRICT JUDGE



                                                                                                                                           ll-cr-03486-JAH-6
       Case 3:11-cr-03486-JAH                       Document 1385                Filed 09/02/16          PageID.8400             Page 2 of
                                                                             5

AQ 245B (CASD) (Rev, 41\4)   Judgment in a Criminal Case
            Sheel 2   Imprisonment

                                                                                                      Judgillent ­   Page _ _2 _ of      5
 DEFENDANT: Flora Espino -6
 CASE NUMBER: 11.cr.03486.JAH.6
                                                                IMPRISONMENT
          The defendant is hereby committed to the custody of the United St11teS Bureau of Prisons to be imprisoned tor 11 term of
          Time served.




      o Sentence imposed pursuant to Title 8 USC Section 1326(b).
      o The court makes the following recommendations to the Bureau of Prisons:


      o The defendant is remanded to the custody of the United States MarshaL
      o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Da.m.          Op.m.      on
                as notified by the United States Marshal.

      o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o betore -------------------------------------------------------------------------
           o as notified by the Cnited States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                      RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                          to

 at                                                        with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL


                                                                            By ____________~~~________------------------­
                                                                                                DEPUTY UNITED STATES MARSHAL




                                                                                                                              ll-cr-03486-JAH-6
         Case 3:11-cr-03486-JAH                      Document 1385                Filed 09/02/16             PageID.8401              Page 3 of
                                                                              5

AO 245B (CASD) (Rev,4/14) Judgment In a Criminal Case
           Shoot 3 Supervised Relcasc
                                                                                                               Judgrncnt~age ~             of _ _.:. .5_ __
DEFENDANT: Flora Espino -6
CASE NUMBER: 11-cr-03486-JAH-6
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection ofa DNA sample from the defendant. pursuant to section 3 ofthe DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with tfie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons. or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judieial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                     ll-cr-034S6-JAH-6
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                                                                            5




    AO    (Rev. 9/00) Judgment in a Criminal Case Sheet 3                                             Judgment-Page 1.- of 5
      Continued 2 - Supervised Release

    Defendant: ESPINO, Flora


     CASE NUMBER: ll-cr-03486-JAH-6

                                             SPECIAL CONDITIONS OF SUPERVISION


1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

2. Report all vehicles owned or operated. or in which you have an interest. to the probation officer.

3. Submit your person, property, residence, office or vehicle to a search. conducted by a United States Probation Officer at a reasonable time and in
a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a search
may be grounds tor revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.4.
Resolve all outstanding warrants within 90 days.


4. Provide complete disclosure of personal and business financial records to the probation officer as requested.


5. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
obtained under any other name, or entity, including a trust, partnership or corporation until the fine or restitution is paid in fulL


6. Notify the Collections Unit, l'nited States Attorney's Office, before transferring any interest in property owned. directly or indirectly, including
any interest held or owned under any other name, or entity. including a trust, partnership or eorporation.


7. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
probation officer until the finc is paid in full.


8. Be monitored for a period of at least three months, with GPS location monitoring technology as directed by the probation officer. The offender
shall abide by all technology requirements and shall pay 50% of the costs of participation in the location monitoring program, as directed by the
court and/or the probation officer. In addition to other court-imposed conditions of release. the offender's movement in the community shall be
restricted as specified below:


(Home Detention)


9. You are restricted to your residence at all times except for employment; education: religious services; medical, or other activities as preapproved
by the probation officer.


10. Reside in a Half-way House for a punitive placement for three months.
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                                                                        5




AO 245S       Judgment in Criminal Case
              Sheet 5   Criminal Monetary Penalties

                                                                                                     Judgment -   Page _ _5_ _ of   5
DEFENDANT: Flora Espino -6                                                                     II
CASE NUMBER: 11-cr-03486-JAH-6

                                                                      FINE

          The defendant shall pay a fine in the amount                $3,000.00
                                                            -------------------------- the United States of America.


           This sum shall be paid __ immediately.
                                   /( as follows:


           Pay a fine in the amount of $3,000 through the Clerk, U. S. District Court. Payment of fine shall be forthwith. The
           defendant shall pay the tine during her supervised release at the rate of $200 per month. These payment schedules
           do not foreclose the United States from exercising all legal actions, remedies, and process available to it to collect
           the fine judgment at any time.

           Until fine has been paid, the defendant shall notifY the Clerk of the Court and the United States Attorney's Office
           of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change
           occurs.


          The Court has determined that the defendant does not           have the ability to pay interest. It is ordered that:

   2:..... The interest requirement is waived.

            The interest is modified as folJows:




                                                                                                    ll-cr-03486-JAH-6
